          Case 6:19-bk-14348-SY                       Doc       Filed 04/16/25 Entered 04/16/25 15:27:58                              Desc Main
                                                               Document      Page 1 of 7
 Fill in this information to identify the case:
 Debtor 1
                 Richard Parnell
 Debtor 2

 (Spouse, if filing)
 United States Bankruptcy Court for the: Central District of California (Riverside)___________
                                                                          (State)
 Case number 6:19-bk-14348-SY


Official Form 410S1
Notice of Mortgage Payment Change                                                                                                           12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See bankruptcy rule 3002.1


Name of creditor: U.S. Bank Trust National Association as                           Court claim no. (if known): 6
Trustee of the Cabana Series III Trust

                                                                                    Date of payment change:                     June 1, 2025
                                                                                    Must be at least 21 days after date
Last four digits of any number you use                7978                          of this notice
to identify the debtor's account:



                                                                                    New total payment:                          $1,303.79
                                                                                    Principal, interest, and escrow, if any



 Part 1:          Escrow Account Payment Adjustment
1.    Will there be a change in the debtor's escrow account payment?
        No
        Yes.          Attach a copy of the escrow account statement prepared in a form consistent with applicable non-bankruptcy law. Describe
                       the basis for the change. If a statement is not attached, explain why: ___________________________________________
                       __________________________________________________________________________________________________

                       Current escrow payment:       $474.73                              New escrow payment:         $568.16

Part 2:           Mortgage Payment Adjustment
 2.    Will the debtor's principal and interest payment change based on an adjustment to the interest rate in the
       debtor's variable-rate note?
        No
        Yes.          Attach a copy of the rate change notice prepared in a form consistent with applicable non-bankruptcy law. If a notice is not
                       attached, explain why:
                       ___________________________________________________________________________________________________
                       Current Interest Rate:                                             New interest rate:
                       Current principal and interest payment:                               New principal and interest payment:
Part 3:           Other Payment Change
 3.    Will there be a change in the debtor's mortgage payment for a reason not listed above?
        No
        Yes.          Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                       (Court approval may be required before the payment change can take effect)

                       Reason for change:

                       Current mortgage payment:                                              New mortgage payment:




Official Form 410S1                                      Notice of Mortgage Payment Change                                                     Page 1
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Debtor 1     Richard Parnell
                                                            Document      PageCase
                                                                               2 ofNumber
                                                                                     7 (if known) 6:19-bk-14348-SY
             First Name            Middle Name         Last Name



Part 4:          Sign Here
 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
 number.
 Check the appropriate box
          I am the creditor.
   I am the creditor's authorized agent.

 I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
 knowledge, information, and reasonable belief.

           /s/ Shannon Doyle                                                 Date 04/16/2025
     Signature


 Print:               Shannon Doyle___________ Title               Bankruptcy Attorney
                      First name         Middle Name   Last name

 Company              GHIDOTTI | BERGER LLP

 Address              1920 Old Tustin Ave,
                      Number               Street

                      Santa Ana, CA 92705
                      City                 State       Zip Code

 Contact phone        (949) 427-2010                   Email:      bknotifications@ghidottiberger.com
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                                                                                                             (800) 603-0836 / (707) 443-1562 (fax)
                                                                                                                   Para Español, Ext. 2771 o 2798
                                                                                                                 8:00 a.m. - 5:00 p.m. Pacific Time
                           323 5TH ST
                                                                                                                         Main Office NMLS #
                           EUREKA CA 95501
                                                                                                                       Branch Office NMLS #
            RICHARD PARNELL
            521 E MONTROSE ST
            RIALTO CA 923767606




Analysis Date: April 04, 2025                                                                                                                     Final
Property Address: 521 EAST MONTROSE STREET RIALTO, CA92376                                                                         Loan:
                                     Annual Escrow Account Disclosure Statement
                                                 Account History

         This is a statement of actual activity in your escrow account from June 2024 to May 2025. Last year's anticipated activity
         (payments to and from your escrow account) is next to the actual activity.

  Payment Information                       Current:      Effective Jun 01, 2025:              Escrow Balance Calculation
   Principal & Interest Pmt:                      735.63                  735.63               Due Date:                                 Apr 01, 2025
   Escrow Payment:                                474.73                  568.16               Escrow Balance:                               (258.03)
   Other Funds Payment:                              0.00                    0.00              Anticipated Pmts to Escrow:                    949.46
   Assistance Payment (-):                           0.00                    0.00              Anticipated Pmts from Escrow (-):                 0.00
   Reserve Acct Payment:                             0.00                    0.00              Anticipated Escrow Balance:                   $691.43
   Total Payment:                                 $1,210.36                  $1,303.79


                          Payments to Escrow                  Payments From Escrow                             Escrow Balance
           Date           Anticipated   Actual                Anticipated     Actual      Description          Required       Actual
                                                                                       Starting Balance        1,403.98        816.54
         Jun 2024              468.00         981.45                                *                          1,871.98      1,797.99
         Jul 2024              468.00         474.73                                *                          2,339.98      2,272.72
         Aug 2024              468.00         474.73                                *                          2,807.98      2,747.45
         Sep 2024              468.00         474.73                                *                          3,275.98      3,222.18
         Oct 2024              468.00         474.73                                *                          3,743.98      3,696.91
         Nov 2024              468.00         474.73                                *                          4,211.98      4,171.64
         Nov 2024                                                          1,899.78 * County Tax               4,211.98      2,271.86
         Dec 2024              468.00         474.73            2,011.43            * County Tax               2,668.55      2,746.59
         Dec 2024                              39.11                                * Int on Escrow Pmt        2,668.55      2,785.70
         Jan 2025              468.00         474.73                                *                          3,136.55      3,260.43
         Feb 2025              468.00         474.73                                *                          3,604.55      3,735.16
         Feb 2025                                                          2,568.15 * Homeowners Policy        3,604.55      1,167.01
         Mar 2025              468.00         474.73            1,593.15            * Homeowners Policy        2,479.40      1,641.74
         Mar 2025                                                          1,899.77 * County Tax               2,479.40       (258.03)
         Apr 2025              468.00                           2,011.40            * County Tax                 936.00       (258.03)
         May 2025              468.00                                               *                          1,404.00       (258.03)
                                                                                      Anticipated Transactions 1,404.00       (258.03)
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                                                                                                                                         Page 1
         AprCase
             2025 6:19-bk-14348-SY474.73 Doc    Filed 04/16/25 Entered 04/16/25 15:27:58                                             Desc
                                                                                                                                      216.70Main
         May 2025                 474.73
                                              Document        Page 4 of 7                                                             691.43
                     $5,616.00 $6,242.59  $5,615.98 $6,367.70

         An asterisk (*) indicates a difference from a previous estimate either in the date or the amount. If you want a further explanation, please call
         our toll-free number.


         Last year, we anticipated that payments from your account would be made during this period equaling 5,615.98. Under
         Federal law, your lowest monthly balance should not have exceeded 936.00 or 1/6 of the anticipated payment from the
         account, unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are
         silent on this issue.




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Analysis Date: April 04, 2025                                                                                                                        Final
                                                               Document      Page 5 of 7
Borrower: RICHARD PARNELL                                                                                                              Loan:
                                                         Annual Escrow Account Disclosure Statement
                                                                Projections for Coming Year

         This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and
         from your account.

            Date                Anticipated Payments                                                               Escrow Balance
                                To Escrow From Escrow              Description                               Anticipated      Required
                                                                   Starting Balance                             691.43        1,591.94
         Jun 2025                 530.64                                                                      1,222.07        2,122.58
         Jul 2025                 530.64                                                                      1,752.71        2,653.22
         Aug 2025                 530.64                                                                      2,283.35        3,183.86
         Sep 2025                 530.64                                                                      2,813.99        3,714.50
         Oct 2025                 530.64                                                                      3,344.63        4,245.14
         Nov 2025                 530.64                                                                      3,875.27        4,775.78
         Dec 2025                 530.64          1,899.78         County Tax                                 2,506.13        3,406.64
         Jan 2026                 530.64                                                                      3,036.77        3,937.28
         Feb 2026                 530.64                                                                      3,567.41        4,467.92
         Mar 2026                 530.64          2,568.15         Homeowners Policy                          1,529.90        2,430.41
         Apr 2026                 530.64          1,899.77         County Tax                                   160.77        1,061.28
         May 2026                 530.64                                                                        691.41        1,591.92
                               $6,367.68        $6,367.70

        (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)
         Your escrow balance contains a cushion of 1,061.28. A cushion is an additional amount of funds held in your escrow
         balance to prevent the balance from becoming overdrawn when an increase in the disbursement amount occurs. Under
         Federal law, your lowest monthly balance should not exceed 1,061.28 or 1/6 of the anticipated payment from the account,
         unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are silent on
         this issue.

         Your ending balance from the last month of the account history (escrow balance anticipated) is 691.43. Your starting
         balance (escrow balance required) according to this analysis should be $1,591.94. This means you have a shortage of 900.51.
         This shortage may be collected from you over a period of 12 months or more unless the shortage is less than 1 month's
         deposit, in which case we have the additional option of requesting payment within 30 days. We have decided to collect it over 24
         months.

         We anticipate the total of your coming year bills to be 6,367.70. We divide that amount by the number of payments expected during
         the coming year to obtain your escrow payment.




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Analysis Date: April 04, 2025                                                                                                               Final
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Borrower: RICHARD PARNELL                                                                                                     Loan:

                                                                        Paying the shortage: If your shortage is paid in full, your new
         New Escrow Payment Calculation
                                                                        monthly payment will be $1,266.27 (calculated by subtracting the
         Unadjusted Escrow Payment                             530.64
                                                                        Shortage Amount to the left and rounding, if applicable). Paying the
         Surplus Amount:                                         0.00
                                                                        shortage does not guarantee that your payment will remain the same, as
         Shortage Amount:                                       37.52
                                                                        your tax or insurance bills may have changed. If you would like to pay
         Rounding Adjustment Amount:                             0.00
                                                                        the shortage now, please pay the entire amount of the shortage before
         Escrow Payment:                                      $568.16
                                                                        the effective date of your new payment. To ensure that the funds are
                                                                        posted to your account correctly, please notify your asset manager that
                                                                        you are paying the shortage.

       NOTICE OF RIGHT TO CANCEL PRIVATE MORTGAGE INSURANCE: If you currently pay private mortgage insurance
       premiums, you may have the right to cancel the insurance. In most cases, you have the right to cancel private mortgage insurance if
       the principal balance of your loan is 80 percent or less of the original appraised value of your home, and you have a good payment
       history on your loan. If you want to learn whether you are eligible to cancel this insurance, please contact us at 323 Fifth Street,
       Eureka, Ca 95501 or 800-603-0836.

   * Please note if you have autopay/EFT set up on your loan, it is your responsibility to make sure your payment amount is
   updated. Enclosed is the EFT form that needs to be completed. Once completed, please fax to the number listed on the EFT form
   or return in the self-addressed envelope.




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1920 Old Tustin Avenue, Santa Ana, CA 92705

                                                                          Notice of Mortgage Payment Change




 April 16, 2025


Counsel for Debtor(s): Benjamin Heston , bhestonecf@gmail.com
Chapter 13 Trustee: Rod Danielson (TR), notice-efile@rodan13.com
U.S. Trustee: United States Trustee (RS), ustpregion16.rs.ecf@usdoj.gov




           April 16, 2025




Debtor(s): Richard Parnell, 521 Montrose Street, Rialto, CA 92376
Judge: Scott H. Yun,




 April 16, 2025             Amanda Spallone                                      /s/ Amanda Spallone
